Case 14-17449-amc          Doc 76-3 Filed 11/29/17 Entered 11/29/17 13:31:06 Desc
                                   Exhibit B Page 1 of 1 8 Neshaminy Interplex, Suite 215
                                                                        Trevose, PA 19053
  POWERS, KIRN, & ASSOCIATES, LLC                                       Phone: (215) 942-2090
  15-0581                                                               Fax: (215) 942-8661

  October 27, 2017

  Christian A. DiCicco, Esquire
  Email: cdicicco@myphillybankruptcylawyer.com

         RE:      WELLS FARGO BANK, N.A. vs.
                  Mark A. Carmolingo, Sr.; Karen L. Carmolingo
                  Chapter 13; BK#: 14-17449 AMC
                  Type of Action: Notice of Default

 Dear Sir or Madam:

          The enclosed stipulation executed by the parties in the above referenced matter requires
 the Debtors to remain current on the monthly post petition mortgage payments. However, as of
 the date of this letter, WELLS FARGO BANK, N.A. has not received following payments:

  Regular Payments: 4/1/2017 – 10/1/2017 @ $1,383.26                                        $9,682.82
  Less Debtor Suspense                                                                      ($833.74)
  TOTAL                                                                                     $8,849.08

         Therefore, the Debtors are currently in default of the agreed stipulation. The amount
 needed to cure the default is $8,849.08. This payment must be made in certified funds.

         In accordance with said stipulation, this shall serve as fifteen (15) days written notice of
 default. If the default is not cured within fifteen (15) days of the date of this letter (11/11/2017),
 then my client may certify said default to the Court and an Order will be entered granting Relief
 from the Automatic Stay.

          **Please note – An additional $1,383.26 will come due on 11/1/2017.

 If you should have any questions, please contact my office.

                                                             Very truly yours,

                                                             /s/ Christopher Amann,
                                                             Christopher Amann, paralegal,
                                                             For Jill Manuel-Coughlin, Esquire
 Payments should be sent to:
 Wells Fargo Bank N.A.
 Attention: Bankruptcy Payment Processing/MAC #X2302-04C
 One Home Campus
 Des Moines, IA 50328

 JMC/cga
 encl.
 cc:     Mark A. Carmolingo, Sr.
         Karen L. Carmolingo
         101 Crozerville Road
         Aston, PA 19014
